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                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

        RICHARD D.     THOMAS,
                      Plaintiff,
                                                             CIVIL ACTION    FILE
             -vs-
                                                             NO.: 1:16-cv-03033-LMM
        THEODORE JACKSON,            SHERIFF,
        FULTON COUNTY,         GA,    et al,
                      Defendants.




             This Court having read and considered                     Plaintiff's      Second

        Emergency Motion,        and it appearing that              Defendants are unopposed


        to same,     for good cause shown,               it is hereby


             ORDERED that        Plaintiff shall and does have up to and


        including     December 11,        2017 to respond to          Defendants Colonel


        Mark Adger's and Captain                 Vicky     White's Motion to Dismiss


        Pursuant to Fed.R.Civ.P.                 12   <b> <6>.   1\.lu will }x   no   �rnuv oxhnS'lons
                                                                                 �n   �) fb�hf)n.
             SO ORDERED this           2.J5l'-   day of November,2017.




                                                      U.S.   District Court,      NDGa,       Atl Div


        Prepared by:




        / s/ Ralph    J.    Villani
        Ralph J. Villani,        Esq.     r11-20-2017J
        GA Bar No. 727700

        Counsel for        Plaintiff



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